                                  Case 5:16-cr-00047-EJD Document 206 Filed 10/15/19 Page 1 of 1




  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                         CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Sarah Thompson                                                                  (415) 362-6252                                                            admin@sugarmanandcannon.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Christopher J. Cannon                                                            (415) 362-6252                                                           chris@sugarmanandcannon.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                 5. CASE NAME                                                                              6. CASE NUMBER
Sugarman & Cannon
737 Tehama Street Unit 3                                                                                   USA v. Chang et al                                                                        cr-16-00047-ejd
San Francisco, CA 94103
                                                                                                          8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ FTR                                       ޫ APPEAL           ✔ CRIMINAL
                                                                                                                             ޫ                  ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Irene Rodriguez                                                                                           ޫ NON-APPEAL       ޫ CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                            c.        DELIVERY TYPE ( Choose one per line)
                                                                                                  with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)                                                                 ●
08/26/2019           EJD             Trial                                                    {           {           {          {           {           {             {         {          {         {            {          {
                                                                                          ● ● ● ●




                                                All

                     EJD             Trial                                                    {           {           {          {           {           {             {         {          {         {            {          {
                                                                                                                                                        ● ● ●


08/27/2019                                      All

08/28/2019           EJD             Trial      All                                           {           {           {          {           {           {             {         {          {         {            {          {
08/29/2019           EJD             Trial      All                                           {           {           {          {           {           {             {         {          {         {            {          {
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                                                                                              {           {           {          {           {           {             {         {          {         {            {          {
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                             12. DATE
11. SIGNATURE
                 /s/ Christopher J. Cannon                                                                                                                                       10/02/2019


         Clear Form                                                                                                                                                                         Save as new PDF
